Case 2:20-cv-11069-DMG-GJS Document 1 Filed 12/06/20 Page 1 of 8 Page ID #:1




 1      CENTER FOR DISABILITY ACCESS
        Raymond Ballister Jr., Esq., SBN 111282
 2      Russell Handy, Esq., SBN 195058
        Dennis Price, Esq., SBN 279082
 3      Amanda Seabock, Esq., SBN 289900
        Mail: 8033 Linda Vista Road, Suite 200
 4      San Diego, CA 92111
        (858) 375-7385; (888) 422-5191 fax
 5      amandas@potterhandy.com
 6      Attorneys for Plaintiff
 7
 8
                                UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11      Orlando Garcia                            Case No.

12                Plaintiff,
                                                  Complaint For Damages And
13        v.                                      Injunctive Relief For Violations
                                                  Of: Americans With Disabilities
14      Ken-Lar, LLC, a California Limited        Act; Unruh Civil Rights Act
        Liability Company;
15      Bhalli Brothers Inc., a California
        Corporation
16
                  Defendants.
17
18
            Plaintiff Orlando Garcia complains of Ken-Lar, LLC, a California
19    Limited Liability Company; Bhalli Brothers Inc., a California Corporation; and
20
      alleges as follows:
21
22      PARTIES:
23
        1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
24
      level C-5 quadriplegic. He also suffers from Cerebral Palsy. He has manual
25    dexterity issues. He uses a wheelchair for mobility.
26
        2. Defendant Ken-Lar, LLC owned the real property located at or about
27
      3700 W 3rd St, Los Angeles, California, in August 2020.
28      3. Defendant Ken-Lar, LLC owns the real property located at or about


                                             1

      Complaint
Case 2:20-cv-11069-DMG-GJS Document 1 Filed 12/06/20 Page 2 of 8 Page ID #:2




 1    3700 W 3rd St, Los Angeles, California, currently.
 2      4. Defendant Bhalli Brothers Inc. owned Bhalli Discount Store located at
 3    or about 3700 W 3rd St, Los Angeles, California, in August 2020.
 4      5. Defendant Bhalli Brothers Inc. owns Bhalli Discount Store (“Store”)
 5    located at or about 3700 W 3rd St, Los Angeles, California, currently.
 6      6. Plaintiff does not know the true names of Defendants, their business
 7    capacities, their ownership connection to the property and business, or their
 8    relative responsibilities in causing the access violations herein complained of,
 9    and alleges a joint venture and common enterprise by all such Defendants.
10    Plaintiff is informed and believes that each of the Defendants herein is
11    responsible in some capacity for the events herein alleged, or is a necessary
12    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
13    the true names, capacities, connections, and responsibilities of the Defendants
14    are ascertained.
15
16      JURISDICTION & VENUE:
17      7. The Court has subject matter jurisdiction over the action pursuant to 28
18    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
19    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
20      8. Pursuant to supplemental jurisdiction, an attendant and related cause
21    of action, arising from the same nucleus of operative facts and arising out of
22    the same transactions, is also brought under California’s Unruh Civil Rights
23    Act, which act expressly incorporates the Americans with Disabilities Act.
24      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
25    founded on the fact that the real property which is the subject of this action is
26    located in this district and that Plaintiff's cause of action arose in this district.
27
28      FACTUAL ALLEGATIONS:


                                                2

      Complaint
Case 2:20-cv-11069-DMG-GJS Document 1 Filed 12/06/20 Page 3 of 8 Page ID #:3




 1      10. Plaintiff went to the Store in August 2020 with the intention to avail
 2    himself of its goods and to assess the business for compliance with the
 3    disability access laws.
 4      11. The Store is a facility open to the public, a place of public
 5    accommodation, and a business establishment.
 6      12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 7    to provide wheelchair accessible sales counters in conformance with the ADA
 8    Standards as it relates to wheelchair users like the plaintiff.
 9      13. The Store provides sales counters to its customers but fails to provide
10    any wheelchair accessible sales counters.
11      14. A problem that plaintiff encountered was that the sales counter was too
12    high and there was no lowered portion of the sales counter suitable for
13    wheelchair users.
14      15. Plaintiff believes that there are other features of the sales counters that
15    likely fail to comply with the ADA Standards and seeks to have fully compliant
16    sales counters available for wheelchair users.
17      16. On information and belief, the defendants currently fail to provide
18    wheelchair accessible sales counters.
19      17. Additionally, on the date of the plaintiff’s visit, the defendants failed to
20    provide wheelchair accessible paths of travel in conformance with the ADA
21    Standards as it relates to wheelchair users like the plaintiff.
22      18. The Store provides paths of travel to its customers but fails to provide
23    any wheelchair accessible paths of travel.
24      19. A couple of problems that plaintiff encountered is that the ramp that
25    runs up to the entrance did not have a level landing. The ramp at the entrance
26    was not maintained and it had broken cement. Finally, the paths of travel
27    inside the Store were too narrow.
28      20. Plaintiff believes that there are other features of the paths of travel that


                                               3

      Complaint
Case 2:20-cv-11069-DMG-GJS Document 1 Filed 12/06/20 Page 4 of 8 Page ID #:4




 1    likely fail to comply with the ADA Standards and seeks to have fully compliant
 2    paths of travel available for wheelchair users.
 3      21. On information and belief, the defendants currently fail to provide
 4    wheelchair accessible paths of travel.
 5      22. These barriers relate to and impact the plaintiff’s disability. Plaintiff
 6    personally encountered these barriers.
 7      23. As a wheelchair user, the plaintiff benefits from and is entitled to use
 8    wheelchair accessible facilities. By failing to provide accessible facilities, the
 9    defendants denied the plaintiff full and equal access.
10      24. The failure to provide accessible facilities created difficulty and
11    discomfort for the Plaintiff.
12      25. Even though the plaintiff did not confront the following barriers, the
13    threshold at the restroom entrance requires a person to navigate a small lip that
14    is about an inch in height and there is no ramp for wheelchair users.
15    Additionally, the restroom door hardware has a traditional round knob handle.
16    The restroom does not provide a 60-inch diameter turning radius due to a
17    stack of toilet papers and tires. Finally, the plumbing underneath the sink is not
18    wrapped. Plaintiff seeks to have these barriers removed as they relate to and
19    impact his disability.
20      26. The defendants have failed to maintain in working and useable
21    conditions those features required to provide ready access to persons with
22    disabilities.
23      27. The barriers identified above are easily removed without much
24    difficulty or expense. They are the types of barriers identified by the
25    Department of Justice as presumably readily achievable to remove and, in fact,
26    these barriers are readily achievable to remove. Moreover, there are numerous
27    alternative accommodations that could be made to provide a greater level of
28    access if complete removal were not achievable.


                                               4

      Complaint
Case 2:20-cv-11069-DMG-GJS Document 1 Filed 12/06/20 Page 5 of 8 Page ID #:5




 1      28. Plaintiff will return to the Store to avail himself of its goods and to
 2    determine compliance with the disability access laws once it is represented to
 3    him that the Store and its facilities are accessible. Plaintiff is currently deterred
 4    from doing so because of his knowledge of the existing barriers and his
 5    uncertainty about the existence of yet other barriers on the site. If the barriers
 6    are not removed, the plaintiff will face unlawful and discriminatory barriers
 7    again.
 8      29. Given the obvious and blatant nature of the barriers and violations
 9    alleged herein, the plaintiff alleges, on information and belief, that there are
10    other violations and barriers on the site that relate to his disability. Plaintiff will
11    amend the complaint, to provide proper notice regarding the scope of this
12    lawsuit, once he conducts a site inspection. However, please be on notice that
13    the plaintiff seeks to have all barriers related to his disability remedied. See
14    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
15    encounters one barrier at a site, he can sue to have all barriers that relate to his
16    disability removed regardless of whether he personally encountered them).
17
18    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
19    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
20    Defendants.) (42 U.S.C. section 12101, et seq.)
21      30. Plaintiff re-pleads and incorporates by reference, as if fully set forth
22    again herein, the allegations contained in all prior paragraphs of this
23    complaint.
24      31. Under the ADA, it is an act of discrimination to fail to ensure that the
25    privileges, advantages, accommodations, facilities, goods and services of any
26    place of public accommodation is offered on a full and equal basis by anyone
27    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
28    § 12182(a). Discrimination is defined, inter alia, as follows:


                                                5

      Complaint
Case 2:20-cv-11069-DMG-GJS Document 1 Filed 12/06/20 Page 6 of 8 Page ID #:6




 1             a. A failure to make reasonable modifications in policies, practices,
 2                 or procedures, when such modifications are necessary to afford
 3                 goods,     services,   facilities,   privileges,   advantages,   or
 4                 accommodations to individuals with disabilities, unless the
 5                 accommodation would work a fundamental alteration of those
 6                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 7             b. A failure to remove architectural barriers where such removal is
 8                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 9                 defined by reference to the ADA Standards.
10             c. A failure to make alterations in such a manner that, to the
11                 maximum extent feasible, the altered portions of the facility are
12                 readily accessible to and usable by individuals with disabilities,
13                 including individuals who use wheelchairs or to ensure that, to the
14                 maximum extent feasible, the path of travel to the altered area and
15                 the bathrooms, telephones, and drinking fountains serving the
16                 altered area, are readily accessible to and usable by individuals
17                 with disabilities. 42 U.S.C. § 12183(a)(2).
18      32. When a business provides facilities such as sales or transaction counters,
19    it must provide accessible sales or transaction counters.
20      33. Here, accessible sales or transaction counters have not been provided in
21    conformance with the ADA Standards.
22      34. When a business provides paths of travel, it must provide accessible
23    paths of travel.
24      35. Here, accessible paths of travel have not been provided in conformance
25    with the ADA Standards.
26      36. When a business provides facilities such as restrooms, it must provide
27    accessible restrooms.
28      37. Here, accessible restrooms have not been provided in conformance with


                                              6

      Complaint
Case 2:20-cv-11069-DMG-GJS Document 1 Filed 12/06/20 Page 7 of 8 Page ID #:7




 1    the ADA Standards.
 2      38. The Safe Harbor provisions of the 2010 Standards are not applicable
 3    here because the conditions challenged in this lawsuit do not comply with the
 4    1991 Standards.
 5      39. A public accommodation must maintain in operable working condition
 6    those features of its facilities and equipment that are required to be readily
 7    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 8      40. Here, the failure to ensure that the accessible facilities were available
 9    and ready to be used by the plaintiff is a violation of the law.
10
11    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
12    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
13    Code § 51-53.)
14      41. Plaintiff repleads and incorporates by reference, as if fully set forth
15    again herein, the allegations contained in all prior paragraphs of this
16    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
17    that persons with disabilities are entitled to full and equal accommodations,
18    advantages, facilities, privileges, or services in all business establishment of
19    every kind whatsoever within the jurisdiction of the State of California. Cal.
20    Civ. Code §51(b).
21      42. The Unruh Act provides that a violation of the ADA is a violation of the
22    Unruh Act. Cal. Civ. Code, § 51(f).
23      43. Defendants’ acts and omissions, as herein alleged, have violated the
24    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
25    rights to full and equal use of the accommodations, advantages, facilities,
26    privileges, or services offered.
27      44. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
28    discomfort or embarrassment for the plaintiff, the defendants are also each


                                               7

      Complaint
Case 2:20-cv-11069-DMG-GJS Document 1 Filed 12/06/20 Page 8 of 8 Page ID #:8




 1    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 2    (c).
 3
 4             PRAYER:
 5             Wherefore, Plaintiff prays that this Court award damages and provide
 6    relief as follows:
 7           1. For injunctive relief, compelling Defendants to comply with the
 8    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 9    plaintiff is not invoking section 55 of the California Civil Code and is not
10    seeking injunctive relief under the Disabled Persons Act at all.
11           2. Damages under the Unruh Civil Rights Act, which provides for actual
12    damages and a statutory minimum of $4,000 for each offense.
13           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
14    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
15
16    Dated: December 3, 2020             CENTER FOR DISABILITY ACCESS
17
18                                        By:
19
                                          _______________________
20
                                                 Russell Handy, Esq.
21                                               Attorney for plaintiff

22
23
24
25
26
27
28


                                                8

      Complaint
